                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

SUSAN WILEY and husband,                       )
JAMES WILEY,                                   )
                                               )
              Plaintiffs,                      )
                                               )
VS.                                            )   Docket No. 2:16-cv-00290
                                               )   JURY DEMAND REQUESTED
WAL-MART STORES EAST, LP,                      )
                                               )
              Defendant.                       )


                 PLAINTIFFS’ MOTOIN FOR RELEASE OF JURY LIST


       COME the Plaintiffs, SUSAN WILEY and husband, JAMES WILEY, through

counsel, and move this Honorable Court for the entry of an Order directing the Clerk to

release to the undersigned attorney the jury list and information for the March 6, 2018,

trial in this case in order to enable proper preparation for voir dire. Plaintiffs agree to

keep the jury information confidential.

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                                    Respectfully submitted,



                                    /s/ P. Richard Talley_____________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be
served by regular U.S. mail. Parties may access this filing through the Court’s
electronic filing system.


                                                   /s/ P. Richard Talley____________




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